Case 5:18-cr-00227-SLP Documenté6 Filed 09/11/18 Page 1 of 1

OKWD Revised AO 442 (1/16/15) Oe xl a in| a

UNITED STATES DISTRICT COURT (%l4-O90l,-|51 3-5

WESTERN DISTRICT OF OKLAHOMA

 

 

UNITED STATES OF AMERICA )
)

V. ) Case Number: CR-18-227-SLP
)
)
Joseph Maldonado-Passage )

Defendant RECEIVED
ARREST WARRANT = SEP 05 2018
U.S. MARSHALS W/OK

 

 

 

To: Any authorized law enforcement officer
YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

‘ > © -Poece »
(name of person to be arrested) 2O8ePh Maldonado-Passage

who is accused of an offense or violation based on the following document filed with the court:
SEALED

Indictment [ _|superseding Indictment{ _ Infor mation [_]Superseding Information [ c ‘omplaint

[ Violation Notice _] Order of the Court

This offense is briefly described as follows:
18:1958(a) USE OF INTERSTATE COMMERCE FACILITIES IN THE COMMISSION OF A MURDER FOR
HIRE

WARRANT ISSUED:
4:23 pm, Sep 05, 2018
CARMELITA REEDER SHINN, Clerk

ay Kate Ptyprrn.

Deputy Clerk

Kathleen Thompson, Deputy Clerk
Oklahoma City, Oklahoma

 

 

 

Return
This warrant was rece

ived on (dare) G-& =] Y _ and the person was arrested on (date) j- j= l 5
at (city and state)

nae: FeLL-L at bral % FO —

NY Arfedting officer's signature

   
 

 

 

 

 
